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AO 440 (Rev 06112) Surnmons m a Clv:| Acuon (l’age 2)

Civil Action No. 18-

PROOF OF SERVICE
(This section should not beji'led with the court unless required by F`ed. R. C`t'v. P. 4 (I))

ThiS Sul'nmons for (name ofmd:w¢l'ual and titie. Jail_t-J Uni\ed Sfates of America

was received by me on (da:e} January 30, 2018

Cl l personally served the summons on the individual at gained
011 Fa'ate) ; OI’

‘_'.l l lett the summons at the individual’s residence or usual lace of abode with (mm:e
p
, a person of suitable age and discretion who resides there,

 

, and mailed a copy to the individual’s last known address; or

 

on (dan.-)
ij l served the summons on (name of:'ndn'iduui) , who is
designated by law to accept service of process on behalf of (namc ofargam:;r.'mn;'
Ol‘t fdatt') ; 0|’
; or

I°_'l l returned the summons unexecuted because

\|{| O¢her (,[,¢,¢.,Jq,)_- Pursuant to Fed. R. Civ. P. 4, | sent the summons via certified mail to Attomey Genera| Jefferson Beauregard
' Sessions ||l at 950 Pennsy|vania A\rel NWl Washington D.C. 20530-001, which was signed for by Emily Sase of

the Department of Justioe on February 5, 2018.

My fees are $ for travel and $ for services. for a total ol`$ 0_00

l declare under penalty of perjury that this information is true.

[)ate: February 13, 201 B
Sen'er 's signature

Elaine Stamp

Para|ega| for the
.nme_rtcan Civil Li_b_ertie§ .Ut=iqr-__Foundatisu;oiM;_D_lst:ict_of.Columbia
Prt`med name and rifle

American Civi| Liberties Union Foundation of the District of Columbia
915 15th St. NW, 2nd Floor
Washington D.C. 20005

Servvr 's address

Additional information regarding attempted service, etc:

